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  5   Attorneys for Plaintiff                                         JS-6
      Hugh Bradley Willis
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  8
  9                        UNITED STATES DISTRICT COURT
 10                      CENTRAL DISTRICT OF CALIFORNIA
 11
 12
      HUGH BRADLEY WILLIS,                   ) Case No.: 2:20-cv-05508-KES
 13                                          )
                                             ) /PROPOSED/ ORDER OF
 14                Plaintiff,                ) DISMISSAL
                                             )
 15         vs.                              )
                                             )
 16                                          )
      ANDREW SAUL,
                                             )
 17   Commissioner of Social Security,       )
                                             )
 18                                          )
                   Defendant.                )
 19                                          )
 20
 21         The above captioned matter is dismissed with prejudice, each party to bear
 22   its own fees, costs, and expenses.
 23         IT IS SO ORDERED.
 24   DATE: May 4, 2021
                                ___________________________________
 25                             THE HONORABLE KAREN E. SCOTT
                                UNITED STATES MAGISTRATE JUDGE
 26

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      DATE: May 3, 2021            Respectfully submitted,
  1
                                   LAW OFFICES OF LAWRENCE D. ROHLFING
  2
                                        /s/ Young Cho
  3                            BY: __________________
                                  Young Cho
  4                               Attorney for plaintiff Hugh Bradley Willis
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